Case 3:17-cv-00072-NKM-JCH Document 713-34 Filed 04/23/20 Page 1 of 7 Pageid#:
                                  10655




                 EXHIBIT 34
         Case 3:17-cv-00072-NKM-JCH Document 713-34 Filed 04/23/20 Page 2 of 7 Pageid#:
                                           10656



From:                            Brent Gleason <brent.gleason@gmail.com>
Sent:                            Wednesday, December 18, 2019 4:55 PM
To:                              Roy III, Daniel P.
Cc:                              Michael Bloch; Siegel, Joshua
Subject:                         Re: Thomas Ryan Rousseau - Discord Authorization



[External]

I just wanted to let y'all know that I have not heard back from Mr. Rousseau since November. I have reached
out to him a number of times, but radio silence on his end. I do not represent him outside of the deposition, and
was only doing him a favor by continuing to reach out to him regarding the discord documents.

Best of luck with your case,

On Mon, Dec 9, 2019 at 2:38 PM Roy III, Daniel P. <droy@cooley.com> wrote:

 Thanks, Brent. As stated in our correspondence of today’s date, we expect Mr. Rousseau to fully comply with his
 discovery obligations by December 17th.



 Further, as noted in our prior emails, the Discord authorization forms must come from the email account associated
 with the Discord handles. Should you have additional questions on the process, we suggest contacting Ken Kim per our
 email of November 4th.



 Best,



 Dan




 From: Brent Gleason <brent.gleason@gmail.com>
 Sent: Monday, December 9, 2019 3:21 PM
 To: Roy III, Daniel P. <droy@cooley.com>
 Cc: Michael Bloch <mbloch@kaplanhecker.com>; Siegel, Joshua <jsiegel@cooley.com>
 Subject: Re: Thomas Ryan Rousseau - Discord Authorization




 [External]




                                                          1
     Case 3:17-cv-00072-NKM-JCH Document 713-34 Filed 04/23/20 Page 3 of 7 Pageid#:
                                                     10657
Yes, I spoke to him last week and he's all ready to send the phone and such. I'll send you the discord doc this
afternoon.

___________________________________

Brent T. Gleason
Attorney

6060 N. Central Expressway
Suite 888
Dallas, Texas 75206
Fax (469) 232-9339
brent.gleason@dunhamlaw.com


CONFIDENTIAL ATTORNEY/CLIENT PRIVILEGED COMMUNICATION-ATTORNEY WORK
PRODUCT This communication is for its intended recipient only, and may contain information that is
privileged, confidential and exempt from disclosure under applicable law. This communication constitutes an
electronic communication within the meaning of the Electronic Communications Privacy Act, 18 U.S.C. 2510,
and its disclosure is strictly limited to the recipient intended by the sender of the message. If you are not the
intended recipient or the employee or agent responsible for delivering this communication to the intended
recipient, you are hereby notified that any unauthorized use, dissemination, distribution or copying of this
communication is strictly prohibited.

"Justice is a certain rectitude of mind whereby a man does what he ought to do in the circumstances
confronting him."

- Saint Thomas Aquinas




On Wed, Dec 4, 2019, 12:52 PM Roy III, Daniel P. <droy@cooley.com> wrote:

 Brent,



 We’re once again following up on the below. It has been nearly one month since you indicated that you would reach
 out to your client. Please let us know when Mr. Rousseau will submit all of the requisite authorizations, as well as all
 of his electronic devices to the third-party discovery vendor. We further reiterate our reservation of all rights to seek
 relief from the Court.




 Thanks,



 Dan


                                                            2
   Case 3:17-cv-00072-NKM-JCH Document 713-34 Filed 04/23/20 Page 4 of 7 Pageid#:
                                     10658


From: Brent Gleason <brent.gleason@gmail.com>
Sent: Wednesday, November 6, 2019 1:40 PM
To: Roy III, Daniel P. <droy@cooley.com>
Subject: Re: Thomas Ryan Rousseau - Discord Authorization




[External]



I'll reach out to Rousseau, I have been on paternity leave so I am trying to play catch up

___________________________________

Brent T. Gleason
Attorney

6060 N. Central Expressway
Suite 888
Dallas, Texas 75206
Fax (469) 232-9339
brent.gleason@dunhamlaw.com


CONFIDENTIAL ATTORNEY/CLIENT PRIVILEGED COMMUNICATION-ATTORNEY WORK
PRODUCT This communication is for its intended recipient only, and may contain information that is
privileged, confidential and exempt from disclosure under applicable law. This communication constitutes an
electronic communication within the meaning of the Electronic Communications Privacy Act, 18 U.S.C.
2510, and its disclosure is strictly limited to the recipient intended by the sender of the message. If you are not
the intended recipient or the employee or agent responsible for delivering this communication to the intended
recipient, you are hereby notified that any unauthorized use, dissemination, distribution or copying of this
communication is strictly prohibited.

"Justice is a certain rectitude of mind whereby a man does what he ought to do in the circumstances
confronting him."

- Saint Thomas Aquinas




On Mon, Nov 4, 2019, 6:29 PM Roy III, Daniel P. <droy@cooley.com> wrote:

 Brent,




                                                        3
  Case 3:17-cv-00072-NKM-JCH Document 713-34 Filed 04/23/20 Page 5 of 7 Pageid#:
                                                10659
We would like to follow up on the below – please confirm that your client has submitted the Discord
authorization forms.



In addition, please ensure that Mr. Rousseau submits his authorization to Twitter. The process for doing so
is explained in the attached instructions.



Finally, I am copying our contact at the third-party discovery vendor retained in this action, Ken
Kim. Please arrange for Mr. Rousseau’s devices, as listed in the attached ESI Certification, to be sent to Mr.
Kim for imaging.



Please confirm that Mr. Rousseau has submitted all authorizations no later than November 8th. In addition,
we ask that you confirm that Mr. Rousseau has submitted his electronic devices for imaging no later than
November 14th. We reserve all rights to seek relief from the Court should we not receive such confirmations.



Best,


Dan




From: Roy III, Daniel P.
Sent: Thursday, October 24, 2019 4:35 PM
To: 'brent.gleason@gmail.com' <brent.gleason@gmail.com>
Cc: 'Michael Bloch' <mbloch@kaplanhecker.com>; Siegel, Joshua <jsiegel@cooley.com>
Subject: Thomas Ryan Rousseau - Discord Authorization



Brent,



As discussed at Mr. Rousseau’s deposition last week, Mr. Rousseau is required to complete the attached
Discord authorization for each of his Discord handles (i.e., Thomas Ryan (Discord ID:
255039575758602240; Thomas Ryan (Discord ID: 363070228864696330); and Commander#770). Once
they are complete, please ensure that they are submitted from whichever of Mr. Rousseau’s email accounts is
associated with that particular handle. Otherwise, Discord will reject the authorization.



                                                     4
  Case 3:17-cv-00072-NKM-JCH Document 713-34 Filed 04/23/20 Page 6 of 7 Pageid#:
                                                  10660
We will also be following up shortly with instructions for sending Mr. Rousseau’s electronic devices to the
vendor for imaging, etc.



Please let me know if you have any questions.



Thanks,



Dan



Daniel P. Roy III
Cooley LLP

55 Hudson Yards

New York, NY 10001-2157

+1 212 479 6784 office

+1 212 479 6275 fax

+1 860 933 3665 mobile

droy@cooley.com




Cooley is one of Fortune’s 100 Best Companies to Work For


Cooley is a Crain’s New York Business Best Place to Work


Cooley GO > Start and build your business




This email message is for the sole use of the intended recipient(s) and may contain confidential and privileged information. Any unauthorized review, use,
disclosure or distribution is prohibited. If you are not the intended recipient, please contact the sender by reply email and destroy all copies of the original
message. If you are the intended recipient, please be advised that the content of this message is subject to access, review and disclosure by the sender's
Email System Administrator.




                                                                               5
          Case 3:17-cv-00072-NKM-JCH Document 713-34 Filed 04/23/20 Page 7 of 7 Pageid#:
                                            10661
     This email message is for the sole use of the intended recipient(s) and may contain confidential and privileged information. Any unauthorized review, use,
     disclosure or distribution is prohibited. If you are not the intended recipient, please contact the sender by reply email and destroy all copies of the original
     message. If you are the intended recipient, please be advised that the content of this message is subject to access, review and disclosure by the sender's Email
     System Administrator.




 This email message is for the sole use of the intended recipient(s) and may contain confidential and privileged information. Any unauthorized review, use,
 disclosure or distribution is prohibited. If you are not the intended recipient, please contact the sender by reply email and destroy all copies of the original
 message. If you are the intended recipient, please be advised that the content of this message is subject to access, review and disclosure by the sender's Email
 System Administrator.




--

________________________________________________________

Brent T.Gleason
Attorney
6060 N. Central Expressway
Suite 888
Dallas, Texas 75206
Tel. (469)-708-8677
Fax (469) 232-9339


J.D, Texas A&M School of Law

CONFIDENTIAL ATTORNEY/CLIENT PRIVILEGED COMMUNICATION-ATTORNEY WORK PRODUCT This communication is for its intended recipient only, and
may contain information that is privileged, confidential and exempt from disclosure under applicable law. This communication constitutes an electronic
communication within the meaning of the Electronic Communications Privacy Act, 18 U.S.C. 2510, and its disclosure is strictly limited to the recipient intended by
the sender of the message. If you are not the intended recipient or the employee or agent responsible for delivering this communication to the intended recipient,
you are hereby notified that any unauthorized use, dissemination, distribution or copying of this communication is strictly prohibited.




"Justice is a certain rectitude of mind whereby a man does what he ought to do in the circumstances
confronting him."



- Saint Thomas Aquinas




                                                                                  6
